     Case 3:23-cv-08622-JJT        Document 85-1    Filed 02/28/25    Page 1 of 25




 1         MESTAZ LAW
      5090 NORTH 40TH STREET
 2       PHOENIX, AZ 85018
 3    TELEPHONE (602) 806-2068

 4 Daniel B. Mestaz (024477)
     Matthew Hersh (037766)
 5 John J. Daller (034016)
 6     daniel@mestazlaw.com
       matt@mestazlaw.com
 7     john@mestazlaw.com
   Attorneys for Defendants Alissa
 8 Chiaravanond, Pacific Shangrila
 9 LLC, Cathedral Shangrila LLC,
   Nido di Stelle LLC, and ILU LLC
10
                             IN THE UNITED STATES DISTRICT COURT
11
12                                 FOR THE DISTRICT OF ARIZONA

13
        Phong Thanh Huynh,                         No. CV-23-08622-PCT-JJT
14
15                            Plaintiff,           Declaration of Alissa Chiaravanond in
                                                   Support of Defendants’ Opposition to
16                     v.                          Plaintiff’s Motion to Modify Receivership
                                                   Order
17      Alissa Chiaravanond, et. al,
18
                              Defendants
19
20
21          I, Alissa Chiaravanond, declare as follows:
22          1.      I engaged Mestaz Law shortly before the firm, through its counsel Matthew
23 Hersh, entered an appearance for Defendants in this matter on January 23, 2025.
24          2.      In the time since I engaged Mestaz Law, I have been deeply involved in this
25 case. I appreciate that my absence from this litigation, both after the time of my service in
27 early 2024 and around the time that discovery responses were pending in late 2024, have
28 been frustrating to the plaintiff and to this Court. I am aware that my absences have been
     Case 3:23-cv-08622-JJT     Document 85-1         Filed 02/28/25   Page 2 of 25




 1 prejudicial to my own interests as well. In fact, my counsel has shown me a transcript of a
 2 January hearing—just before he appeared in this action—in which the Court invited the
 3 plaintiff to file for default if I did not appear by the end of the month. I know that I have
 4 nothing to gain—and much to lose—if I should absent myself from this litigation again.
 5         3.     Since I engaged Mestaz Law, I have worked actively to gather documents
 6 and information responsive to the plaintiff’s discovery requests. This has been a very
 7 difficult and time-consuming task. For the reasons I have recounted in my declaration of
 8 April 3, 2024, I have changed electronic devices, telephone numbers, and email accounts
 9 on many occasions. To complicate matters further, I was residing in the Malibu house
10 (which is one of the subjects of this lawsuit) when the fires began in California. Like many
11 residents of that area, I had to flee the fires and take up temporary residence in another Los
12 Angeles-area property. Shortly thereafter, I had to evacuate from that house as well, and I
13 left Los Angeles entirely. Unfortunately, I left behind in the Malibu house a carry bag
14 containing, among other things, passwords to several of my online accounts. I also lost
15 many other papers in that fire.
16         4.     Beginning in early February, I took up residence at my property at 95 Cross
17 Creek Circle in Sedona (which is also one of the properties in this lawsuit). That property
18 was my main personal residence in the United States from 2021 through 2023 and it is
19 filled with my personal effects. Among those possessions are memorabilia from various
20 times in my life, going back to my childhood, as well as a wide variety of other papers
21 documenting deeply personal events. While I have rented out the other Sedona property, I
22 have never rented out this one. It would be deeply upsetting for me if anyone—even a
23 court-appointed receiver—would have access to that property and to the personal
24 possessions within it.
25         5.     Although I am now officially living in Sedona, the practical reality is that for
27 the last month, with only modest exceptions, I have been living in Phoenix. At the urging
28 of my present counsel, I have made it my first priority to stay in temporary lodging close

                                                  2
     Case 3:23-cv-08622-JJT      Document 85-1          Filed 02/28/25   Page 3 of 25




 1 to the Arcadia offices of Mestaz Law and the Scottsdale offices of Mestaz Law’s
 2 electronically stored information (ESI) consultant. Over the course of that time period I
 3 have made frequent in-person visits to both locations as we work to gather my devices and
 4 email accounts, gain access to them, and begin to review the results after the consultant
 5 exports them to his review platform. In fact, for much of the past week I have taken up 10-
 6 hour-per-day residence in Mestaz Law’s offices—no doubt to the consternation of the law
 7 firm’s suite-mates—as we work together to review documents, prepare interrogatories, and
 8 engage in other activities related to this litigation. 1
 9         6.      In addition to participating actively in this litigation, I have also been active
10 in managing the Sedona properties that are the subject of this litigation. I deeply regret that
11 I allowed the insurance on the Malibu house to lapse and I am determined to learn from
12 that mistake. As a result, in the past month I have taken the following steps:
13                 A.     I have obtained insurance coverage for the Cross Creek property with
14         Beazley Excess and Surplus Insurance, Inc. A true and correct copy of email
15         correspondence with my insurance broker, confirming that a policy with Beazley
16         Insurance is effective as of February 27, 2025, is attached hereto at Exhibit A.
17                 B.     I am in the process of obtaining insurance coverage for the property
18         at 288 Back ‘O Beyond Circle and I expect to have that coverage in place shortly.
19                 C.     I have caught up on homeowner association bills for the Cross Creek
20         property. Attached hereto at Exhibit B is a receipt for payment of $5166.46 made
21
22
     Although I have largely been full-time in Phoenix this month, there was one week at the
     1

23 beginning of the month where I was in Sedona inspecting the condition of the house and
24 moving back into it. Because of connectivity issues in the somewhat remote location where
   I live, I was in only sporadic touch with my counsel that week. I recognize that my
25 communication difficulties caused a delay in responding to discovery, to the frustration of
27 the plaintiff and the Court (and frankly, to my own counsel as well). For that reason, I have
   since then committed myself to being in Phoenix as much as I can until discovery responses
28 are substantially completed.

                                                    3
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 4 of 25
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 5 of 25




      Exhibit A to
     Declaration of
        Alissa
     Chiaravanond
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 6 of 25
2/28/25, 10:08 PM     Case 3:23-cv-08622-JJT Document            85-1
                                                               Mail - MatthewFiled
                                                                              Hersh -02/28/25
                                                                                     Outlook  Page 7 of 25
                       Confirmed the policy was effective on 2 27 2025. Currently waiting for docs
                       which should be Monday. I tried to dig them out but being on the east coast I
                       have no access to get a copy of the certificate at this point. Since personal
                       property was changed at the last moment this has stalled the process.
                       Nonetheless, policy is in effect. Docs will be Monday


                          Brad Prince
                          Farmers Insurance
                          3509 E Shea Blvd Ste 104
                          Phoenix, AZ 85028-3337
                          602-358-1825 (Office)
                          602-332-7372 (Mobile)
                          888-351-5185 (Fax)
                          jprince@farmersagent.com
                          http://www.farmersagent.com/jprince


                             EmailLogo


                          From:                proton.me           @proton.me>
                          Sent: Friday, February 28, 2025 2:00 PM
                          To: Brad Prince <jprince@farmersagent.com>
                          Subject: Re: 288 BACK O

                          Hi Brad,

                          Thanks for your texts today.

                          1.What is the current status/outlook on 288?

                          2. Can you send me the docs for our binding the 95 CC please. I really need it
                          today

                          Thanks again
                          AC



                          On Thursday, February 27th, 2025 at 5:04 PM, Rudragrace@proton.me
                                    e@proton.me> wrote:


                                   Brad,

                                   reacp of what we are doing now:

                                   288:
                                   Evanston-
                                   I know you just saw this as well. Confirm The w




                                   95:
https://outlook.office365.com/mail/inbox/id/                                   TI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa7j…   2/10
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 8 of 25
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 9 of 25
2/28/25, 10:08 PM   Case 3:23-cv-08622-JJT         DocumentMail
                                                            85-1        Filed
                                                                - Matthew Hersh 02/28/25
                                                                                - Outlook      Page 10 of 25

                                                                    proton.me
                                                            e@proton.me>
                                                Sent: Tuesday, February 25, 2025
                                                11:21 PM
                                                To: Brad Prince
                                                <jprince@farmersagent.com>
                                                Subject: Re: 95 CROSS STREET
                                                AND 288 BACK O

                                                HI Brad,

                                                Thanks for moving this forward!

                                                Just looked at new quote. I
                                                didn't see that much of a price
                                                drop. AM I missing something?
                                                It went from $18k+ to $15k+.

                                                WIll talk to you tomorrow.
                                                BR,
                                                AC
                                                On Tuesday, February 25th,
                                                2025 at 8:18 AM, Brad Prince
                                                <jprince@farmersagent.com
                                                > wrote:

                                                       This was a great
                                                       improvement
                                                       going to a DP3
                                                       coverage.
                                                       Dropped price by
                                                       almost half


                                                       Brad Prince
                                                       Farmers Insurance
                                                       3509 E Shea Blvd Ste
                                                       104
                                                       Phoenix, AZ 85028-
                                                       3337
                                                       602-358-1825 (Office)
                                                       602-332-7372
                                                       (Mobile)
                                                       888-351-5185 (Fax)
                                                       jprince@farmersagent
                                                       .com
                                                       http://www.farmersag
                                                       ent.com/jprince


                                                           EmailLogo


https://outlook.office365.com/mail/inbox/id/AAMkADhkOWI5NTI3LTk0NDgtNGEzYy04YTZkLTI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa7j…   5/10
2/28/25, 10:08 PM   Case 3:23-cv-08622-JJT         DocumentMail
                                                            85-1        Filed
                                                                - Matthew Hersh 02/28/25
                                                                                - Outlook      Page 11 of 25
                                                       From: Brad Prince
                                                       Sent: Monday,
                                                       February 24, 2025
                                                       12:43 PM
                                                       To:
                                                                  @proton
                                                       .me
                                                                   @proto
                                                       n.me>
                                                       Subject: 95 CROSS
                                                       STREET AND 288
                                                       BACK O




                                                       Brad Prince
                                                       Farmers Insurance
                                                       3509 E Shea Blvd Ste
                                                       104
                                                       Phoenix, AZ 85028-
                                                       3337
                                                       602-358-1825 (Office)
                                                       602-332-7372
                                                       (Mobile)
                                                       888-351-5185 (Fax)
                                                       jprince@farmersagent
                                                       .com
                                                       http://www.farmersag
                                                       ent.com/jprince


                                                         EmailLogo


                                                       Securities offered
                                                       through Farmers
                                                       Financial
                                                       Solutions, LLC.
                                                       Member FINRA &
                                                       SIPC.

                                                       Farmers Financial
                                                       Solutions, LLC
                                                       (FFS) does not
                                                       accept trading
                                                       instructions via
                                                       voice mail, text
                                                       messages, email,
                                                       instant
                                                       messaging, or fax.
https://outlook.office365.com/mail/inbox/id/AAMkADhkOWI5NTI3LTk0NDgtNGEzYy04YTZkLTI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa7j…   6/10
2/28/25, 10:08 PM   Case 3:23-cv-08622-JJT         DocumentMail
                                                            85-1        Filed
                                                                - Matthew Hersh 02/28/25
                                                                                - Outlook      Page 12 of 25
                                                       Please do not
                                                       transmit orders or
                                                       instructions
                                                       regarding an FFS
                                                       account by email.
                                                       For your
                                                       protection, FFS
                                                       does not accept
                                                       and act on such
                                                       instructions. If
                                                       you wish to enter
                                                       a buy or sell
                                                       order
                                                       immediately,
                                                       please speak
                                                       directly with your
                                                       financial services
                                                       agent. Emails,
                                                       faxes, and
                                                       voicemails may
                                                       not be monitored
                                                       daily, or after
                                                       normal business
                                                       hours, and
                                                       cannot be relied
                                                       upon to timely
                                                       communicate
                                                       your wishes.

                                                       This email
                                                       communication
                                                       contains
                                                       information
                                                       which is
                                                       confidential. If
                                                       you are not the
                                                       intended
                                                       recipient of this
                                                       email, you are
                                                       hereby notified
                                                       that any
                                                       disclosure,
                                                       copying,
                                                       distribution or
                                                       use of its
                                                       contents is
                                                       prohibited.


https://outlook.office365.com/mail/inbox/id/AAMkADhkOWI5NTI3LTk0NDgtNGEzYy04YTZkLTI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa7j…   7/10
2/28/25, 10:08 PM   Case 3:23-cv-08622-JJT         DocumentMail
                                                            85-1        Filed
                                                                - Matthew Hersh 02/28/25
                                                                                - Outlook      Page 13 of 25



                                                Securities offered through
                                                Farmers Financial Solutions,
                                                LLC. Member FINRA & SIPC.

                                                Farmers Financial Solutions,
                                                LLC (FFS) does not accept
                                                trading instructions via voice
                                                mail, text messages, email,
                                                instant messaging, or fax.
                                                Please do not transmit orders
                                                or instructions regarding an
                                                FFS account by email. For
                                                your protection, FFS does not
                                                accept and act on such
                                                instructions. If you wish to
                                                enter a buy or sell order
                                                immediately, please speak
                                                directly with your financial
                                                services agent. Emails, faxes,
                                                and voicemails may not be
                                                monitored daily, or after
                                                normal business hours, and
                                                cannot be relied upon to
                                                timely communicate your
                                                wishes.

                                                This email communication
                                                contains information which is
                                                confidential. If you are not
                                                the intended recipient of this
                                                email, you are hereby notified
                                                that any disclosure, copying,
                                                distribution or use of its
                                                contents is prohibited.




                                  Securities offered through Farmers Financial Solutions,
                                  LLC. Member FINRA & SIPC.

                                  Farmers Financial Solutions, LLC (FFS) does not accept
                                  trading instructions via voice mail, text messages,
                                  email, instant messaging, or fax. Please do not
                                  transmit orders or instructions regarding an FFS
https://outlook.office365.com/mail/inbox/id/AAMkADhkOWI5NTI3LTk0NDgtNGEzYy04YTZkLTI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa7j…   8/10
2/28/25, 10:08 PM   Case 3:23-cv-08622-JJT         DocumentMail
                                                            85-1        Filed
                                                                - Matthew Hersh 02/28/25
                                                                                - Outlook      Page 14 of 25
                                  account by email. For your protection, FFS does not
                                  accept and act on such instructions. If you wish to
                                  enter a buy or sell order immediately, please speak
                                  directly with your financial services agent. Emails,
                                  faxes, and voicemails may not be monitored daily, or
                                  after normal business hours, and cannot be relied
                                  upon to timely communicate your wishes.

                                  This email communication contains information which
                                  is confidential. If you are not the intended recipient of
                                  this email, you are hereby notified that any disclosure,
                                  copying, distribution or use of its contents is
                                  prohibited.




                      Securities offered through Farmers Financial Solutions, LLC. Member FINRA &
                      SIPC.

                      Farmers Financial Solutions, LLC (FFS) does not accept trading instructions via
                      voice mail, text messages, email, instant messaging, or fax. Please do not
                      transmit orders or instructions regarding an FFS account by email. For your
                      protection, FFS does not accept and act on such instructions. If you wish to
                      enter a buy or sell order immediately, please speak directly with your financial
                      services agent. Emails, faxes, and voicemails may not be monitored daily, or
                      after normal business hours, and cannot be relied upon to timely
                      communicate your wishes.

                      This email communication contains information which is confidential. If you
                      are not the intended recipient of this email, you are hereby notified that any
                      disclosure, copying, distribution or use of its contents is prohibited.




               Securities offered through Farmers Financial Solutions, LLC. Member FINRA & SIPC.

               Farmers Financial Solutions, LLC (FFS) does not accept trading instructions via voice mail,
               text messages, email, instant messaging, or fax. Please do not transmit orders or
               instructions regarding an FFS account by email. For your protection, FFS does not accept
               and act on such instructions. If you wish to enter a buy or sell order immediately, please
               speak directly with your financial services agent. Emails, faxes, and voicemails may not be
               monitored daily, or after normal business hours, and cannot be relied upon to timely
               communicate your wishes.

               This email communication contains information which is confidential. If you are not the

https://outlook.office365.com/mail/inbox/id/AAMkADhkOWI5NTI3LTk0NDgtNGEzYy04YTZkLTI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa7j…   9/10
2/28/25, 10:08 PM   Case 3:23-cv-08622-JJT        DocumentMail
                                                           85-1        Filed
                                                               - Matthew Hersh 02/28/25
                                                                               - Outlook      Page 15 of 25
               intended recipient of this email, you are hereby notified that any disclosure, copying,
               distribution or use of its contents is prohibited.




https://outlook.office365.com/mail/inbox/id/AAMkADhkOWI5NTI3LTk0NDgtNGEzYy04YTZkLTI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa…   10/10
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 16 of 25




      Exhibit B to
     Declaration of
        Alissa
     Chiaravanond
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 17 of 25
2/28/25, 10:27 PM   Case 3:23-cv-08622-JJT         DocumentMail
                                                            85-1        Filed
                                                                - Matthew Hersh 02/28/25
                                                                                - Outlook      Page 18 of 25




https://outlook.office365.com/mail/inbox/id/AAMkADhkOWI5NTI3LTk0NDgtNGEzYy04YTZkLTI3Y2ZjMTVmNjVkMQBGAAAAAADYEwvF4%2BiLQa7jj…   2/2
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 19 of 25




      Exhibit C to
     Declaration of
        Alissa
     Chiaravanond
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 20 of 25
Case 3:23-cv-08622-JJT   Document 85-1   Filed 02/28/25   Page 21 of 25




      Exhibit D to
     Declaration of
        Alissa
     Chiaravanond
Docusign Envelope ID: B720ED43-F4F3-4FBB-B1C2-43496E0466DC
                   Case 3:23-cv-08622-JJT                   Document 85-1              Filed 02/28/25            Page 22 of 25


                                                        CONSULTING AGREEMENT

                   AGREEMENT (the “Agreement”) is made and entered into this 27th day of February 2025, by
            and between Alissa Chiaravanond, an individual (herein referred to as the “Client”) and MCA Financial
            Group, Ltd. (herein referred to as “Consultant”).

                                                                    RECITALS:

                    A. Client desires to obtain Consultant’s consulting services in connection with certain financial
            and operational matters germane to the Client’s ownership and management of certain real property
            located in Sedona, Arizona (the “Property”); and

                    B. Consultant desires to provide such services to Client directly for a fee that will compensate it
            for time spent for services rendered and costs advanced by Consultant as contemplated hereunder.

                    NOW, THEREFORE, in consideration of the foregoing and of the mutual promises and
            conditions hereinafter set forth, the Parties agree as follows:

                    1.      Retention of Consultant. Client hereby engages and retains Consultant and Consultant
            hereby agrees to use its best efforts to render to Client the consulting services from the date hereof until
            terminated by the Parties (the “Services”).

                     2.        Consultant’s Services. Consultant’s Services hereunder may consist of the following:

                               i)        Review financial information, accounting records, invoices, bills, utility bills,
                                         property related documents, insurance, property taxes, maintenance agreements
                                         and other documents relevant to the management and preservation of the
                                         Property;
                               ii)       Assist the Client to administer the management of the Property and ensure that
                                         the Property is appropriately maintained, preserved and protected;
                               iii)      Interface with any third parties relevant to the management, preservation and
                                         protection of the Property including, but not limited to; insurance agents,
                                         maintenance companies, construction trades to facilitate repairs or improvements
                                         to the Property, and others;
                               iv)       Provide reports detailing Consultant’s activities, findings and recommendations
                                         to the Client and legal counsel to be used in connection with certain pending
                                         litigation matters including reports to be provided to the Court;
                               v)        Communicate with and fulfill any requests for information concerning the status
                                         of the Property or its condition; and,
                               vi)       Assist Client with other matters as requested from time to time, and

                     3.      Payment for Services. Client shall pay Consultant the sum of $695 per hour for Senior
            Managing Directors, $595 per hour for Managing Directors, $495 per hour for Directors, $445 to $295
            per hour for Sr. Associates and Associates and $125 per hour for administrative and research personnel
            for the services to be rendered hereunder, which fee shall be payable upon billing.1 Consultant shall
            receive a retainer in the amount of $7,500 which shall be held by Consultant and applied to Consultant’s
            final invoices or returned to the Client at the end of the engagement, as appropriate. Consultant shall be
            reimbursed for all direct expenses incurred in performing such services plus an administrative charge for

            1
             Consultant’s hourly billing rates are subject to annual adjustment on January 1 of each year as is Consultant’s ordinary business
            practice and such hourly rates hereunder may be modified accordingly. In no event shall the Consultant’s annual adjustment
            exceed ten percent (10%) of the standard hourly rates of the preceding calendar year.




                                                                            1
Docusign Envelope ID: B720ED43-F4F3-4FBB-B1C2-43496E0466DC
                   Case 3:23-cv-08622-JJT            Document 85-1           Filed 02/28/25       Page 23 of 25


            indirect costs equal to three percent of fees to cover fax, phone, copying and other related costs. Client
            shall pay $75 per hour for non-billable travel time of professionals. Requests for payment of fees and
            reimbursement of costs shall be tendered by Consultant and shall be paid by Client upon receipt of
            billing. Consultant shall waive the requirement for a retainer at this time but reserves the right to request
            a retainer in the future. Interest shall accrue on unpaid fees (past due more than 15 days from invoice
            date) at a rate of 1.5% per month or the maximum allowable rate by law.

                    4.      Consultant’s Time Commitment. Consultant shall devote such time as reasonably
            requested by Client for consultation, advice and assistance on matters described herein and provide the
            same in such form as Client requests; however, Consultant anticipates that it will spend considerable time
            to perform the services required hereunder.

                    5.      Independent Contractor. The relationship created hereunder is that of Consultant acting
            as an independent contractor through the Consultant’s firm. The parties acknowledge and agree that
            Consultant shall have no authority to, and shall not, bind Client to any agreement or obligation with any
            third party. The parties also acknowledge that Consultant is not providing legal services or acting as a
            broker/dealer and such services must be obtained by Client from other parties. Client agrees that
            Consultant shall not be prevented or barred from rendering services similar or dissimilar in nature for and
            on behalf of any person, firm or corporation other than Client.

                    6.       Nondisclosure of Confidential Information.        Consultant acknowledges that it is the
            policy of Client to maintain as secret and confidential all valuable information heretofore or hereafter
            acquired, developed or used by Client relating to its business, operations, employees and customers which
            may give Client a competitive advantage in its industry (all such information is hereinafter referred to as
            “Confidential Information”). The Parties recognize that, by reason of Consultant’s duties hereunder,
            Consultant may acquire Confidential Information. Consultant recognizes that all such Confidential
            Information is the property of Client. In consideration of Client entering into this Agreement, Consultant
            agrees that:

                             i)       It shall not, directly or indirectly, use, publish, disseminate or otherwise disclose
                                      any Confidential Information obtained during its engagement by Client without
                                      the prior written consent of Client, it is understood that this subparagraph shall
                                      survive the termination of this Agreement; and

                             ii)      During the term of its engagement by Client, Consultant shall exercise all due
                                      and diligent precautions to protect the integrity of any or all of Client’s
                                      documents containing Confidential Information.

                    7.      Communications with Consultant. Consultant will not independently conduct a due
            diligence review of Client and will, to a great extent, be relying upon information provided by Client.

                    8.       Exculpation of Liability and Indemnification.           All decisions with respect to
            consultations or services rendered by Consultant for transactions negotiated for and presented to Client by
            Consultant shall be those of Client, and Consultant shall have no liability with respect to such decisions.
            In connection therewith, Client agrees to indemnify and hold Consultant harmless against any and all
            losses, claims, damages and liabilities and the expense, joint and several, to which Consultant may
            become subject and will reimburse Consultant for any legal and other expenses, including attorney’s fees
            and disbursements incurred by Consultant in connection with investigating, preparing or defending any
            actions commenced or threatened or claim whatsoever, whether or not resulting in the liability.

                   The foregoing indemnification shall not, however, apply to any damage, claim, loss or expense
            which arises from Consultant’s gross negligence or willful misconduct.



                                                                   2
Docusign Envelope ID: B720ED43-F4F3-4FBB-B1C2-43496E0466DC
                   Case 3:23-cv-08622-JJT             Document 85-1          Filed 02/28/25        Page 24 of 25



                    9.       Limitation on Damages. As to the services that Client has requested and Consultant has
            agreed to provide as set forth in this Agreement, the total aggregate liability of Consultant under this
            Agreement to Client and its successors and assigns, shall be limited to the actual damages incurred by
            Client or its successors or assigns. In no event will Consultant or any of its affiliates be liable to Client or
            its successors or assigns for consequential, special or punitive damages, including loss of profit, data,
            business or goodwill.

                    Further, in no event shall the total aggregate liability of Consultant relating to the services
            provided hereunder or otherwise arising under this Agreement to Client and its successors and assigns
            exceed the total amount of fees received and retained by Consultant hereunder.

                    10.     Entire Agreement. This Agreement contains the entire agreement and understanding
            between the parties hereto with respect to the subject matter contained herein. There are no
            representations or warranties other than as shall be set forth herein.

                    11.     Waiver. No waiver or modification of this Agreement shall be valid unless in writing
            and signed by the parties hereto.

                    12.      Notices. All notices, consents, requests, demands and offers required or permitted to be
            given under this Agreement will be in writing and will be considered properly given or made when
            personally delivered to the party entitled thereto, or when mailed by certified United States mail, postage
            prepaid, return receipt requested, addressed to the addresses appearing in this Agreement. A party may
            change its address by giving notice to the other party hereto.

                     Notices are to be provided to the following:

                     If to Client:

                     Alissa Chiaravanond
                     95 Cross Creek Circle
                     Sedona AZ 86336
                     +1 310 948-4203
                                   @proton.me

                     With a copy to:

                     Mestaz Law
                     Attn: Matthew Hersh
                     5090 N. 40th Street, Suite 200
                     Phoenix, AZ 85018
                     Direct: +1 602 806 2076
                     Email: Matt@MestazLaw.com

                     If to Consultant:

                     MCA Financial Group, Ltd.
                     Attn: Keith Bierman
                     4909 N. 44th Street
                     Direct: +1 602 710 2502
                     Phoenix, AZ 85018
                     kbierman@mca-financial.com



                                                                    3
Docusign Envelope ID: B720ED43-F4F3-4FBB-B1C2-43496E0466DC
                   Case 3:23-cv-08622-JJT            Document 85-1         Filed 02/28/25        Page 25 of 25




                    13.     Counterparts. This Agreement may be signed in any number of counterparts, each of
            which shall be an original, but all of which, taken together, shall constitute one agreement. It shall not be
            required that any single counterpart hereof be signed by the Parties, so long as each Party signs any
            counterpart hereof.

                    14.      Applicable Law. This Agreement shall be governed by and construed in accordance with
            the laws of the State of Arizona.

                    15.     Attorneys’ Fees. In case of any action or proceeding to compel compliance with, or for a
            breach of, any of the terms and conditions of this Agreement, the prevailing Party shall be entitled to
            recover from the losing Party all costs of such action or proceeding, including, but not limited to,
            reasonable attorneys’ fees.

                    16.     Termination. This Agreement may be terminated by Client at any time upon five (5)
            business days’ written notice. This Agreement may be terminated by Consultant, including for non-
            payment of any sums due to Consultant hereunder, upon five (5) business days written notice during
            which time Client may cure any breach giving rise to such cure (in which event Consultant may only
            terminate this Agreement upon ten (10) further business days’ notice, unless Client consents in writing to
            an earlier termination). Following termination, Consultant shall return any and all Confidential
            Information, in whatever form, to Client. At Client’s option, Consultant may instead be instructed to
            destroy all Confidential Information.


            IN WITNESS WHEREOF, the undersigned have executed this Agreement to be effective as of the day
            and year first above written.


            MCA Financial Group, Ltd.                                 Alissa Chiaravanond
            An Arizona Corporation                                    An individual


                                    2/27/2025                                             2/28/2025
                                                                      ____________________________
            By:      Keith Bierman                                    By:    Alissa Chiaravanond
            Its:     Senior Managing Director




                                                                 4
